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FOR THE WEsTERN DISTRICT oF TENNESSEE 05 ggp _2 PH _
wESTERN DIVISION 3' 10

 

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WANDA S. FARMER,

Plaintiff,
as 7a ~D/P

No. 04-254’7'-`D/P

V.

TENNESSEE AIR NATIONAL GUARD,
UNITED STATES DEPARTMENT OF THE
AIR FORCE, JAMES D. ROCHE,
SECRETARY OF THE AIR FORCE,
COLONEL GARY 'I`. HICKS,

COLONEL JAMES O. HALL,

Defendants.

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ORDER GRANTING DEFENDANT’S MO'I`ION TO DISMISS

 

Before the Court is the motion (dkt. #15) of Defendants Tennessee Air National Guard,
United States Department of the Air Force, J ames D. Roche, Secretary of the Air Force, Colcnel
GarryT. Hicks, and Colonel J ames O. Hall, (“Defendants”) to dismiss Plaintiff, Wanda S. Farmer’s,
(“Plaintiff”) complaint, pursuant to Federal Rule of Civil Procedure 12(b)(1). Plaintiff alleged
violations under Title VII of the Civil Rights Act of 1964, as amended (“Title VII”), 42 U.S.C. §
2000e et seq. (2004); 42 U.S.C. § 1983; and the Due Process Clause of the Fourteenth Amendrnent.

Defendants argue that the Court lacks subject matter jurisdiction as military personnel may not
bring suit against the armed forces or military superiors for incidents arising out of or in the course

of their military service. For the following reasons, the Court grants Defendants’ motion to dismiss

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without legal prejudice and gives Plaintiff leave to amend her complaint
I. Factual Background1

Plaintiff, a Caucasian female, was hired by the Defendant on September 10, 1988 as a
Computer and Communication Planning and Programing Manager in Communications Flight. In
April, 1995, she transferred to 155 Air Squadron as a Cl41 Load Master. ln October, 2000, Plaintiff
transferred to Active Guard Reserve and into her current position as a Cornputer Assistant in
Communications Flight.

On January 7, 2002, Plaintiff informed Dale Pollet that he was the subject of rumors
circulating the Workplace concerning an alleged affair between Pollet and a female employee, Joyce
Bennett. Both Pollet and Bennett are non commissioned officers On the same day, Lieutenant
Colonel J ames O. Hall told Plaintiff that she needed to know her place, to keep her comments to
herself, and further stated that she needed to have her legs broken for interfering in male business.

Thereafcer, Plaintiff was the subject of successive acts by her superiors and her co-workers
that created an alleged hostile work environment Dale Pollet, Larry I-Iolland, Plaintiff’s supervisor
and Chief of Comrnunications Flight, and Joyce Bennett ostracized Plaintiff by leaving all of her
assignments on ‘sticky’ notes. On February 20, 2002, upon a return from vacation, Plaintiff found
the contents of her office packed away in boxes. During this period, Plaintiff experienced stress-
related health problems, including fatigue, headaches, and problems sleeping which led to a
diagnosis of fibrornyalgia. On March 19, 2002, Colonel Garry T. Hicks, the support group
commander, placed Plaintiff on thirty days leave. Colonel Hall ordered Plaintiff to undergo a mental

health evaluation during her leave. As a result, Plaintiff did not work for the six weeks she awaited

 

lThe Court takes the facts from Plaintiff’s amended complaint on this motion to dismiss.

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the results of the evaluation. After her retum, Plaintiff`s work environment allegedly grew even
more hostile and included ridicule from supervisory personnel. After filing a complaint with the
lnspector General of the Air National Guard regarding the order to undergo a mental health
evaluation, the lnspector General told Plaintiff, “he believed all women going through menopause
needed to see a psychiatrist.” Pl. Amend. Compl. ll 4-5.

On May 23, 2003 Plaintiff learned that she had been the target of identity theft when she
received a call from the local newspaper regarding the sale of her pet. Subsequently, Plaintiff’s
utilities were disconnected, her phone service was changed, and funds were withdrawn from her
account to pay for the unauthorized changes Plaintiff reported the theft to Air Guard Security. An
investigation led to the May 3, 2004 criminal conviction of a co-worker, .l im Silk, for harassment
Following the conviction, Colonel Hicks warned Plaintiff not to discuss Silk’s conviction with
friends or family members, calling Silk’s actions “boyish pranks.” Pl. Amend. Compl. 11 6.

Plaintiff sought internal assistance to combat the discrimination and hostility she encountered
in the workplace On August, 2003, she filed a complaint with Military Equal Opportunity against
Colonel Hall. Thereaiier, on March 9, 2004, Colonel Hicks agreed to extend Plaintiff’s enlistment
for one year on the condition that the she exit the Tennessee Air National Guard on a medical
discharge Plaintiff filed an EEOC complaint alleging discrimination and a continuous hostile work
environment in May of 2004. She later received a 90-day notice of termination from Defendant
effective September 30, 2004. After Plaintiff reported to the EEOC a continuing violation of
discrimination and retaliation for her prior filing, her enlistment was extended to September, 2005.

Plaintiff later filed suit against Defendants alleging discrimination, hostile work environment, and

retaliation pursuant to Title Vll.

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Defendants filed the instant motion to dismiss on April 22, 2005, arguing that (1) sovereign
immunity prevents the United States from being party to a suit absent express consent, (2) there is
no statutory authority establishing jurisdiction ofTitle Vll action against the military, and, (3) intra-
military immunity prevents Title VII claims by members of the military

Plaintiff filed a response on July 29, 2005. Plaintiff argues that (l) federal officials who
violate an individual’s constitutional rights may be sued pursuant to Bivens v. Six Unknown Named
Aggi§, 403 U.S. 388 (1971), (2) civilian courts may entertain suits regarding military service in the
limited circumstance that the Tennessee Air National Guard is a state agency and, (3) although her
complaint does not specifically enumerate a claim under 42 U.S.C. § 1985, the allegations of her
claim assert the violation and will be added if allowed to proceed.

II. Legal Standard

The basis of Defendants’ motion is a question of subj ect matter j urisdiction, which the court
considers under Rule 12(b)(1). §§ ABbrMQm_m, 711 F.2d 1332, 1335 (6th Cir. 1983). On
a motion to dismiss pursuant to Rule l2(b)(l), the plaintiff bears the burden of establishing, by a
preponderance of the evidence, the existence of federal subject matterjurisdiction. M_(@
Motors Acceptance Co;p., 298 U.S. 178, 189 (1936). When the party asserting federal jurisdiction
finds its allegations challenged, it must submit evidence substantiating its claims. Benv._Citny
Dearborn, 532 F.2d 554, 560 (6th Cir. 1976). The district court has “wide discretion to allow
aflidavits, documents and even a limited evidentiary hearing to resolve disputed jurisdictional facts.”

Ohio Nat'l Life lns. Co. v. United States, 922 F.2d 320, 325 (6th Cir. 1990) (citations omitted). The

 

court may consider such evidence without turning the motion into one for summary judgment M._

On a 12(b)(l) motion, the Court has the power to resolve factual disputes RMI Titanium Co. v.

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Westinghouse Elec. Cogp., 78 F.3d 1125, 1134 (6th Cir. 1996).

When the court elects to decide the jurisdictional issue on the written materials submitted,
the plaintiff is required only to make a prima facie case of jurisdiction Armbruster, 711 F.2d at
1335. ln other words, the plaintiff must only “demonstrate facts which support a finding of
jurisdiction in order to avoid a motion to dismiss.” l;i¢ (citations omitted). The Court must consider
the pleadings and affidavits in the light most favorable to the plaintiff § If it is determined that
the court lacks subject matter jurisdiction, “the court shall dismiss the action.” Fed. R. Civ. P.
12(h)(3).

III. Analysis

A. Sovereign Immunity

The Supreme Court has ruled that there is no remedy available for tort claims arising
“incident to military service.” Feres v. United States, 340 U.S. 135, 138 (1950). Although courts
have jurisdiction to provide civilians relief from the “deprivation ofrights, privileges, or immunities
secured by the Constitution and law,” this provision does not apply to military officers. 42 U.S.C.
§ 1983. The Court explicitly stated that Congress is “the constitutionally authorized source of
authority over the military system ofjustice” and “has not provided a damage remedy for claims by
military personnel that constitutional rights have been violated by superior officers.” M¢M
_W_M, 462 U.S. 296, 304 (1983). The Court further explicated, “any action to provide a judicial
response by way of such a remedy would be plainly inconsistent with Congress’s authority in this
field.” L

Plaintiff argues that her claims for relief are “not service connected actions” and “involve acts

foreign to the military service and were criminal in nature.” Pl. Resp. to Mot. to Dismiss 11 3.

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Plaintiff also argues that the Supreme Court may grant relief “for a damage suit against federal
officials whose actions violate[d] an individual’s constitutional rights even though Congress has not

expressly authorized such suits.” L at 2, citing Bivens, 403 U.S. 388. However, courts have

 

explicitly barred § 1983 claims by military personnel against their commanders See Brown v. U.S.,

 

739 F.2d 362 (Sth Cir. 1984). This was the case even where a suicide attempt was deemed to be the
proximate result ofa racially motivated assault that occurred during military service. I_d. ln M,
the court barred the plaintiffs claims against his superior officers for failing to prevent the incident
and to provide a proper investigation under §e@1 yet allowed claims against military defendants

who participated in the incident LL at 369. §§ Feres, 340 U.S. at 138. Thus, in light of established

 

precedent, this Court does not have jurisdiction to hear Plaintiff' s § 1983 claims against Defendants.

Plaintiff suffered a criminal violation by a co-worker. Criminal violations are not considered
incident to military service. w Lutz v. Secretgy of the Air Force, 944 F.2d 1477 (9th Cir. 1991).
Plaintiff asks to be allowed to add a § 1985 claim to her complaint Title 42 of the United States
Code, Section 1985 imposes liability for persons who “conspire to prevent, by force, intimidation,
or threat, any person from accepting or holding any ofiice, trust, or place of confidence under the
United States, or from discharging any duties thereof . . .” 42 U.S.C. § 1985 (1). The Ninth Circuit
allowed a § 1985 claim to proceed against subordinates who broke into a superior’s office and
disseminated the contents of her private mail to others. §_e_e M, 944 F.2d 1477. Plaintiff alleged
that her co-workers conspired to create a hostile work environment leading to criminal theft, illness,
and absence from work. ln L_utz_, the Court reasoned that “not every action by one member of the
armed services against another implicates military decision making, relates to the military mission
or is incident to service.” I_d_. at 1484. This Court does have jurisdiction to hear a claim that arises

out of events not incident to Plaintiff’s military service, namely, events that provided the basis for

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John Silk’s criminal activity. Therefore, the Court dismisses Plaintist § 1983 claim and grants the
Plaintiff leave to amend her complaint to include a claim under § 1985.
B. Title VII
Discriminatory practices are precluded in personnel actions affecting employees or applicants
for employment in military departments pursuant to Title Vli. §§ 42 U.S.C. Sec. 2000e-l6(a).
However this provision does not apply to uniformed members of the armed forces 29 C.F.R. §
1614.103(d)(l). Both Congress and the courts recognize two parallel systems ofjustice: one for
civilians and one for military personnel Chappell v. Wallace, 462 U.S. 296, 304 - 05 (1983), citing
Burns v.Wilson, 346 U.S. 137 at 140 (1953). This policy was designed because any liability
imposed by the courts, “would undermine the need for unhesitating and decisive action for military
officials and equally disciplined responses by military personnel.” anrppill, 462 U.S. at 305.
Pursuant to the infra-military immunity doctrine, this Court lacks jurisdiction in the Title VII
action brought by the Plaintiff. Plaintiff alleges that employment by the Tennessee Air National
Guard and her duties therein classify her as a state employee Pl. Resp. to Def. Mot. to Dismiss.
However, it has been firmly established that military immunity applies to state national guards §

Gilligan v. Morgan, 413 U.S. 1 (1973). See also, Fisher v. Peters, 249 F.3d 433 (6th Cir. 2001)

 

Similarly, Plaintiff’s non-military job functions as a Computer and Communications Prograrnming
Manager and a Computer Assistant do not provide the Court jurisdiction ln M, the court held
that it did not have jurisdiction to hear a discrimination claim nom a plaintiff who was employed in
a hybrid military position as a federal civilian technician and a member of the Ohio National Guard.
Leistko v. Stone, 922 F. Supp 66, 69 (6th Cir. 1996). Since courts have already determined
Plaintiff’s employment status to be “irreducibly military in nature,” this Court lacks jurisdiction to

hear her claim. id at 75. Therefore, Plaintiff’ s Title Vl] claims of discrimination, hostile work

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environment and retaliation are dismissed

IV. Conclusion

Notwithstanding Plaintiff’ s allegations the Court finds that it has no jurisdiction to hear her
claims Accordingly, the Court GRANTS Defendant’s motion to dismiss However, the Court

grants Plaintiff 30 days leave to amend her complaint to allege a claim under 42 U.S.C. § 1985.

IT rs so oRDEREr) this Z~t day trw 2005.

 

ICE B
ITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02574 was distributed by fax, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

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